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A0245D                                                           #325
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT                                                          ILED
                                                          Southern District of Illinois
                                                                                                                         ocr o~ 2012
         UNITED STATES OF AMERICA
                                                                                                                              8
                                                                         Judgment in a Criminal Caseso'tl~~~~·g; DISTRICT COURT
                             v.                                          (For Revocation of Probation or Supervised Refi&~o~~~~~g~ ILLINOIS
                  GARY V. MOORE

                                                                         Case No. 4:98CR40002-004-JPG
                                                                         USM No. 04090-025
                                                                           Judith Kuenneke, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the term of supervision.
D   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                   Violation Ended
Statutory                         The defendant committed the offense of Disorderly Conduct                     09/03/2011



Standard# 2                       The defendant failed to submit a complete monthly report                      03/05/2012

                                       .• ~llt.t~,i.
       The defendant is sentenced as provided in pages 2 through _ _.::::,3__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untfl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8552                        10/04/2012
                                                                                             Date of Imposition of Judgment


                                                                                   if-WW~
Defendant's Year of Birth:          1964

City and State of Defendant's Residence:
Murphysboro, IL 62966
                                                                           J. Phil Gilbert                              District Judge
                                                                                  /)             Name and Title of Judge

                                                                                  U(~'d'                    ~,·4?/z-
                                                                                                          Oat




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AO 2450                                                        #326
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DEFENDANT: GARY V. MOORE
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                                                     ADDITIONAL VIOLATIONS

                                                                                                          Violation
Violation Number              Nature of Violation                                                         Concluded
Special                       The defendant failed to attend counseling sessions.                         07/30/2012




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  AO 2450                                                            #327
                (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

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  DEFENDANT: GARY V. MOORE
  CASE NUMBER: 4:98CR40002-004-JPG


                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term of:
24 months (12 months on Count 1 and 12 months on Counts 11 and 14 to run consecutive to Count 1 for a total of 24
months)



       r/ The court makes the following recommendations to the Bureau of Prisons:
That the defendant participate in the Intensive Drug Treatment Program.




       r/ The defendant is remanded to the custody of the United States Marshal.
       0    The defendant shall surrender to the United States Marshal for this district:
            0     at   --------- 0                          a.m.     0     p.m.    on
            0     as notified by the United States Marshal.

       0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0    before 2 p.m. on
            0     as notified by the United States Marshal.
            0     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                       to

  at   - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                  By ------~-----------=~~-------------
                                                                                            DEPUTY UNITED STATES MARSHAL
